                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             3:12-CR-00386-1-RJC-DSC


UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
                                                   )
v.                                                 )
                                                   )
JOHN W. FEMENIA,                                   )
                                                   )
                 Defendant.                        )



       THIS MATTER is before the Court on the “Application for Admission to Practice Pro

Hac Vice [Edward Scott Morvillo]” (document #28) filed December 18, 2012. For the reasons

set forth therein, the Motion will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Robert J. Conrad, Jr..


       SO ORDERED.                         Signed: December 18, 2012




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